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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION

  UNITED STATES OF AMERICA ex rel.                     Case No. 2:15-cv-00119-JNP-EJF
  KATIE BROOKS and NANNETTE WRIDE,
                                                       UNITED STATES’ NOTICE OF
                        Plaintiffs,                    SUPPLEMENTAL AUTHORITY
                                                       REGARDING ITS OPPOSITION
         vs.                                           TO DEFENDANTS’ MOTION TO
                                                       DISMISS
  STEVENS-HENAGER COLLEGE, INC.,
  et al.,                                              Judge Jill N. Parrish

                        Defendants.                    Magistrate Judge Evelyn J. Furse



       Pursuant to DUCivR 7-1(b)(4), the United States hereby submits this Notice of

Supplemental Authority in support of its Opposition to Defendants’ Motion to Dismiss its First

Amended Complaint In Intervention. On August 24, 2018, the United States Court of Appeals


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for the Ninth Circuit, acting on interlocutory appeal, issued a ruling in United States ex rel. Rose

v. Stephens Institute, Case No. 17-15111, --- F.3d ---, 2018 WL 4038194 (9th Cir. Aug. 24,

2018), which affirmed the district court’s denial of the defendant’s motion for summary

judgment, in a case alleging violation of the incentive compensation provisions of the Higher

Education Act. In doing so, the Ninth Circuit construed aspects of the falsity and materiality

elements of the False Claims Act (FCA), 31 U.S.C. §§ 3729-33, using the framework established

by Universal Health Services, Inc. v. United States ex rel. Escobar, --- U.S. ---, 136 S.Ct. 1989,

195 L.Ed.2d 348 (2016).

       The Rose decision is relevant to the arguments raised in the United States’ Opposition

brief arguing that the United States has properly alleged materiality as to its false certification

claims. U.S. Opp’n, at 18-19. Specifically, Rose rejected the argument that materiality, in the

context of an alleged FCA cause of action arising from a violation of a school’s Program

Participation Agreement with the Department of Education, requires a showing that the

Department has taken the specific action of terminating schools from access to Title IV funds.

Rose held that materiality can be demonstrated even where an agency has not terminated funding

in similar cases. Rose, 2018 WL 403819418, at *7. Summary judgment on materiality was

denied because the relators showed that the Department of Education had a history of corrective

action, fines, and partial recoupment in similar cases. Id. Based on the record before it, the Ninth

Circuit concluded that there was evidence “that the Department did care about violations of the

incentive compensation ban and did not allow schools simply to continue violating the ban while

receiving Title IV funds” and that “through one means or another, the Department recouped




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many millions of dollars from the violating schools, showing that it was not prepared to pay

claims ‘in full’ despite knowing of violations of the incentive compensation ban.” Id. at *8.

       The United States notes that a partial dissent in Rose argued that the relators had not

adequately shown materiality. The dissent argued that Escobar’s multi-factor inquiry to examine

materiality imposed a new materiality analysis than that employed in United States ex rel.

Hendow v. University of Phoenix, 461 F.3d 1166, 1175 (9th Cir. 2006), which focused on the

single condition-of-payment factor. See Rose, 2018 WL 4038194 at *9. It further argued that

the majority ignored Escobar’s statement that the materiality test must be a “rigorous” and

“demanding” inquiry into whether the government “would” attach importance to the

misrepresentation. Id. at *10. Applying that standard, the dissent would have held that the

relators’ general showing of the agency’s adverse action in other cases was not sufficiently

specific to determine whether the agency would have considered the violation in this particular

case to be material. Id. at *11. The dissent would have remanded the case for further discovery

on this issue. Id. at *12. The United States respectfully points the Court to its Opposition brief

addressing each of the Escobar factors pertaining to materiality. See U.S. Opp’n at 9-19.

       DATED this 6th day of September, 2018.

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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of September, a true and correct copy of the
foregoing United States’ Notice Of Supplemental Authority Regarding Its Opposition To
Defendants’ Motion To Dismiss was served via the court’s CM/ECF electronic filing system to
all counsel of record.



                                              /s/ Sandra L. Steinvoort
